     Case 2:06-cr-00210-LDG-VCF            Document 1187    Filed 08/21/12       Page 1 of 1
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     1                                UNITED STATES DISTRICT C       RT
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     2                                        DISTRICT 0F N EVADA
y                                                     s,s                qjs
     3                                                                       yojx syayajyysy
                                                                   BF:     pja jcyc,Ntw u
     4    U N ITED STA TES O F A M ERICA
                                              ,              CaseN o.:2: -c -               DEPUM
!    5
I                             Plaintiff,
;    6                                                     ORDER FOR PLACEM ENT IN THE
j      vs.                                                 RESIDENTIAL REENTRY CENTER
     7 DANEKEISER
                        ,                                                                                  I
     8                        D
                                  efendant.
     9
                      Presently before the courtisthe matterofU .S.v.Simon etal.in particular
    10
         defendantDA N E K EISER .
    11
                      OnAugust21,2012,thiscourtheldahearing forrevocation ofsupervisedreleaseas
    12
         todefendantDANEKEISER (t'M r.Keiser'').TheCourtagreedtomodifyM r.Keiser'ssupervision
    l3
         toincludehisresidenceintheresidentialre-entrycenterfortllreemonths(90days).
    l4
                      A ccordingly,
    15
                      IT IS HEREBY ORDERED ADJUDGED AND DECREED thatdefendantDANE
    16
         KEISER resideinaresidentialre-entrycenter/flalf-wayHouse foraperiodofthree(3)months.
    17

    l8
                      DATED: August2l,2012                    h                    .
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